                                                                                                    Entered on Docket
                                                                                                    March 14, 2019
                                                                                                    EDWARD J. EMMONS, CLERK
                                                                                                    U.S. BANKRUPTCY COURT
                                                                                                    NORTHERN DISTRICT OF CALIFORNIA



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                                                                                              The following constitutes the order of the Court.
                                             2                                                Signed: March 14, 2019
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                                             4                                                _________________________________________________
                                                                                              M. Elaine Hammond
                                                                                              U.S. Bankruptcy Judge
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                                                                         UNITED STATES BANKRUPTCY COURT
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                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                     ) Case No. 18-51575 MEH
                                            10   In re                                               )
UNITED STATES BANKRUPTCY COURT




                                                                                                     ) Chapter 13
  for the Northern District of California




                                            11   Gloria Cabral Robles,                               )
                                                                                                     )
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                                            13                                                       )
                                                                                                     )
                                            14                                Debtor(s).             )
                                                                                                     )
                                            15                                                       ) Adv. No. 18-05055
                                                                                                     )
                                            16   Kurt Anthony Miller,                                )
                                                                                                     )
                                            17                              Plaintiff.               )
                                                                                                     )
                                            18   v.                                                  )
                                                                                                     )
                                            19   Gloria Cabral,                                      )
                                                                                                     )
                                            20                               Defendant.              )
                                                                                                     )
                                            21                                                       )
                                            22                       ORDER DISMISSING ADVERSARY PROCEEDING
                                            23            A status conference in the above-entitled matter was held on March 13, 2019.
                                            24   Appearances were stated on the record. The court dismissed the main bankruptcy case on
                                            25   February 20, 2019. 1 As a result, the court must decide if it may retain jurisdiction over a related
                                            26   proceeding subject to considerations of judicial economy, fairness, convenience, and comity.
                                            27   See In re Carraher, 971 F.2d 327, 328 (9th Cir. 1992); In re Casamont Investors, Ltd., 196 B.R.
                                            28   1
                                                     Dkt# 109 in Case No. 18-51575.
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                                             1   517 (9th Cir. BAP 1996). The weighing of these factors is subject to the court’s discretion. See
                                             2   Carraher, 971 F.2d at 328; In re Szanto, 2016 WL 3256989 at *4 (B.A.P. 9th Cir. June 3, 2016).
                                             3   The general rule is that related proceedings should be dismissed following dismissal of the
                                             4   underlying bankruptcy. See Carraher, 971 F.2d at 328.
                                             5          For the reasons more fully stated on the record at the hearing, the factors weigh against
                                             6   the court retaining jurisdiction over the adversary proceeding.
                                             7          Accordingly, the adversary proceeding is hereby
                                             8           DISMISSED.
                                             9                                      ***END OF ORDER***
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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                                             2                                 COURT SERVICE LIST
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                                             4   Via ECF:
                                             5   All ECF Recipients
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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